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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------)(
UNITED STATES OF AMERICA,
                     Government,                                     SEALED ORDER

                  -against-                                          15 CR 867 (RMB)

REZA ZARRAB,
                                   Defendant.
------------------------------------------------------------)(

         For the reasons set forth in the submissions dated January 18, 2018 by the Defense and

dated January 21, 2018 by the Government, the Defendant forthwith may be released on the

following conditions:

         1- Home detention with electronic and GPS monitoring at a residence location known to

the Government, Defense and Pretrial Services, but otherwise kept confidential. This residence

and the Defendant will be subject to random unannounced searches by a representative of

Pretrial Services and/or a representative of the Federal Bureau of Investigation. Defendant may

leave the residence to attend Court proceedings; meet with the Government; meet with Pretrial

Services; receive medical services; and as may otherwise be approved by the Court and Pretrial

Services.

         2- Bond in the amount of $5 million signed by Defendant and secured by $100,000.00 to

be deposited within 30 days of Defendant's release on bail, pursuant to this Order.

         3- Pretrial supervision as directed by Pretrial Services.

         4- Travel is restricted to the Southern and Eastern Districts of New York.

         5- Defendant's travel documents shall remain in the Government's custody and no new

applications for travel documents are permitted.

         6- Defendant shall not possess or use any phone other than that approved by the
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Government, which will be subject to search and review at the Government's request.

        7- Defendant will only possess a computer provided by the Government and with

Government approved monitoring software.

        8- Because of the serious risk to his personal safety, and subject to Government review

and approval, Defendant shall hire a security company to ensure his personal safety. The

security company shall provide one or more security guard(s) securing Defendant' s safety while

on bail. A member of the security team shall be available to speak with the Government or

Pretrial Services at all times.


Dated: New York, New York
       January 22, 2018

                                             RICHARD M. BERMAN, U.S.D.J.
